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                                          U.S. Department of Justice
                                                      Civil Rights Division


OEM                                                   Criminal Section – 4CON
                                                      950 Pennsylvania Ave, NW
                                                      Washington DC 20530
XXX-XX-XXXX



December 13, 2023

United States District Clerk
Western District of Texas
525 Magoffin Avenue
El Paso, Texas 79901

       RE:    U.S. v. MIGUEL ANGEL DELGADO, JR.
              COURT NUMBER: EP:23-CR-00466-KC(1)


Dear Sir or Madam:

       This is to request that the undersigned Trial Attorney be removed as counsel assigned to
represent the United States in the above-entitled and numbered cause on all matters forthwith.
Please change your records to accurately reflect this information.

       Thank you for your attention to this matter.


Respectfully submitted,

KRISTEN M. CLARK
ASSISTANT ATTORNEY GENERAL
CIVIL RIGHTS DIVISION
U.S. DEPARTMENT OF JUSTICE


BY:     /s/ Olimpia E. Michel__
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       U.S. Department of Justice
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